         Case 1:22-cv-00610-CJN Document 46 Filed 12/13/22 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLUMBIA

SUSANNE GIONET

              Plaintiff,                             CASE NO: 1:22-CV-00610

vs.


SELECT COMMITTEE TO INVESTIGATE
THE JANUARY 6 ATTACK ON THE
UNITED
STATES CAPITOL
Longworth House Office Building
Washington, D.C. 20515, Et al.


              Defendants.
______________________________________________

                                 JOINT STATUS REPORT

       COMES NOW Plaintiff, Susanne Gionet, through counsel, and jointly files this Status

Report with the Defendants, through counsel, for the Select Committee to Investigate the January

6th Attack on the United States Capitol, the Honorable Nancy Pelosi, the Honorable Bennie G.

Thompson, the Honorable Elizabeth L. Cheney, the Honorable Adam B. Schiff, the Honorable

Jamie Raskin, the Honorable Susan Lofgren, the Honorable Elaine G. Luria, the Honorable Peter

R. Aguilar, the Honorable Stephanie Murphy, and the Honorable Adam D. Kinzinger [hereinafter

the ”Select Committee”].

       1. The Select Committee sought specific Verizon phone records via two Subpoena Duces

           Tecum for two separate phone lines, issued to Verizon on February 9, 2022, and

           February 10, 2022, respectively.

                                                 1
  Case 1:22-cv-00610-CJN Document 46 Filed 12/13/22 Page 2 of 3




2. This Court issued a Minute Order on November 30, 2022, directing the parties to confer

   and file a joint status report in light of the Court’s decision in Meadows v. Pelosi, No.

   21-cv-03217 ECF No. 49.

3. The Select Committee through counsel informed Plaintiff on December 12, 2022, of

   its intent to withdraw the subpoenas issued, so indicating, “The telecommunications

   carrier will be notified of the withdrawal via letter from the Select Committee shortly.”

4. Upon withdrawal of the subpoenas, the Plaintiff has no further claims against the Select

   Committee nor Verizon.



       Respectfully submitted this 13th day of December 2022.




                                             /s/ Zachary J. Thornley__________
                                             Pro Hac Vice Admission

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                                         2
         Case 1:22-cv-00610-CJN Document 46 Filed 12/13/22 Page 3 of 3




                               Certificate of Electronic Service

       I hereby certify that on December 13, 2022, I have electronically filed the foregoing with
the Clerk of Court using the CM/ECF system, with consequent service on all parties of record.


                                            /s/ Zachary J. Thornley




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